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 5
      Attorney for Defendant
 6    NATALIE MIDDLETON
 7
 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,                  )   Case No. 1:14-cr-00101-DAD-BAM
                                                  )
12                       Plaintiff,               )
                                                  )   DEFENDANT NATALIE MIDDLETON’S
13     vs.                                        )   MOTION TO INSPECT AND COPY
                                                  )   PASSPORT; [PROPOSED] ORDER
14     NATALIE MIDDLETON,                         )
                                                  )
15                      Defendant.                )
                                                  )
16                                                )
17             Defendant Natalie Middleton, by and through her counsel of record, Assistant Federal
18    Defender Erin Snider, hereby moves this Court for an order permitting defense counsel to inspect
19    and copy Ms. Middleton’s passport, which is currently in the possession of the Clerk of Court.
20             In its sentencing memorandum, the government claims that Ms. Middleton “spent most of
21    her earnings that were derived from drug proceeds on luxury items, such as a trip to Spain and a
22    time share at Lake Tahoe in Nevada, the subject of the money laundering charge to which [Ms.]
23    Middleton pleaded guilty.” Docket No. 233 at 10. Defense counsel is informed and believes
24    that Ms. Middleton did not use any of the money she earned in her capacity as a sales
25    representative for ZenBio on a trip to Spain. Defense counsel believes that Ms. Middleton’s
26    passport, which is currently in the possession of the Clerk of Court in accordance with the
27    conditions of Ms. Middleton’s pretrial release, see Docket No. 18 at 6, will resolve this factual
28    issue.
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 1           Accordingly, Ms. Middleton moves the Court for an order directing the Clerk of Court to
 2    allow defense counsel to inspect and copy Ms. Middleton’s passport.
 3
 4                                                Respectfully submitted,
 5                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 6
 7    Date: October 6, 2016                       /s/ Erin Snider
                                                  ERIN SNIDER
 8                                                Assistant Federal Defender
                                                  Attorney for Defendant
 9                                                NATALIE MIDDLETON
10
11
12                                              ORDER
13           IT IS SO ORDERED. The Clerk of Court is hereby directed to permit defense counsel
14    to inspect and copy Natalie Middleton’s passport.
15
16    IT IS SO ORDERED.

17
         Dated:    October 6, 2016                            /s/ Barbara A. McAuliffe           _
18                                                        UNITED STATES MAGISTRATE JUDGE
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